                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 25-5197                                                September Term, 2024
                                                                      1:25-cv-00542-RBW
                                                       Filed On: July 18, 2025
Travis LeBlanc and Edward Felten,

             Appellees

      v.

United States Privacy and Civil Liberties
Oversight Board, et al.,

             Appellants



      BEFORE:       Srinivasan, Chief Judge, and Henderson, Millett, Pillard, Wilkins,
                    Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges


                                        ORDER

        Upon consideration of the petition for rehearing en banc, construed as a motion
for en banc reconsideration of the court’s July 1, 2025 order granting appellants’ motion
for a stay pending appeal, it is

      ORDERED that the motion be denied.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Selena R. Gancasz
                                                         Deputy Clerk
